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 1   JOSEPH W. COTCHETT (SBN 36324)
     jcotchett@cpmlegal.com
 2   TAMARAH P. PREVOST (SBN 313422)
     tprevost@cpmlegal.com
 3
     ANDREW F. KIRTLEY (SBN 328023)
 4   akirtley@cpmlegal.com
     MELISSA MONTENEGRO (SBN 329099)
 5   mmontenegro@cpmlegal.com
     COTCHETT, PITRE & McCARTHY, LLP
 6   San Francisco Airport Office Center
     840 Malcolm Road, Suite 200
 7
     Burlingame, CA 94010
 8   Telephone: (650) 697-6000
     Facsimile: (650) 697-0577
 9
     Attorneys for Defendants
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11                                  UNITED STATES DISTRICT COURT

12                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

13                                          SAN JOSE DIVISION

14
      NATIONAL ASSOCIATION FOR GUN                       Case No. 5:22-cv-00501-BLF
15    RIGHTS, INC., a non-profit corporation; and
      MARK SIKES, an individual,                         DEFENDANTS’ STATEMENT OF
16                                                       RECENT DECISION
                            Plaintiffs,
17
                                                         (Civil Local Rule 7-3(d)(2))
18           v.
                                                         Motion:       Mot. for Preliminary Injunction
19    CITY OF SAN JOSE, a public entity,                 Date:         July 21, 2022
      JENNIFER MAGUIRE, in her official capacity         Time:         9:00 a.m.
20    as City Manager of the City of San Jose, and the   Courtroom:    Zoom Webinar
      CITY OF SAN JOSE CITY COUNCIL,                     Judge:        Hon. Beth Labson Freeman
21

22                          Defendants.                  Motion:       Mot. to Dismiss First Am. Compl.
                                                         Date:         August 4, 2022
23                                                       Time:         9:00 a.m.
                                                         Courtroom:    Zoom Webinar
24                                                       Judge:        Hon. Beth Labson Freeman
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     Defendants’ Statement of Recent Decision
     Case No. 5:22-cv-00501-BLF                                                                          1
            Case 5:22-cv-00501-BLF Document 59 Filed 06/07/22 Page 2 of 2




 1                                 STATEMENT OF RECENT DECISION

 2          Pursuant to Civil Local Rule 7-3(d)(2), Defendants City of San Jose, Jennifer Maguire (in her

 3   official capacity as City Manager), and the City of San Jose City Council respectfully provide notice to

 4   the Court of the following relevant judicial decision concerning the First Amendment to the U.S.

 5   Constitution:

 6          •        Shurtleff v. City of Boston, Massachusetts, 142 S. Ct. 1583 (2022), issued on May 2,

 7                   2022, a copy of which is attached hereto as Exhibit 1.

 8          This decision was issued on May 2, 2022, after the parties to this action had completed briefing

 9   Plaintiffs’ pending Motion for Preliminary Injunction (fully briefed as of March 29, 2022) and

10   Defendants’ pending Motion to Dismiss the First Amended Complaint (fully briefed as of April 29,

11   2022). Those motions are set to be heard by the Court on July 21, 2022, and August 4, 2022,

12   respectively.

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14                                                        Respectfully submitted,

15    Dated: June 7, 2022                                 COTCHETT, PITRE & McCARTHY, LLP

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17                                                        By:    /s/ Tamarah P. Prevost
                                                                 Joseph W. Cotchett
18                                                               Tamarah P. Prevost
                                                                 Andrew F. Kirtley
19                                                               Melissa Montenegro
20                                                        Attorneys for Defendants City of San Jose, et al.
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     Defendants’ Statement of Recent Decision
     Case No. 5:22-cv-00501-BLF                                                                               2
